Case 1:20-cv-01519-MAK Document 151 Filed 08/26/21 Page 1 of 2 PageID #: 3526




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 FEENIX PAYMENT SYSTEMS, LLC,                  : CIVIL ACTION
 et al                                         :
                                               :
                      v.                       : NO. 20-1519
                                               :
 STEEL CAPITAL MANAGEMENT,                     :
 LLC, et al                                    :


                                           ORDER
       AND NOW, this 26th day of August 2021, upon our careful and independent review of

Special Master Judge Robinson’s comprehensive Report and Recommendation (ECF Doc. No.

147), Plaintiffs’ Objections (ECF Doc. Nos. 148, 149), Defendants’ Opposition to Objections

(ECF Doc. No. 150), and for good cause, it is ORDERED:

       1.      We ADOPT and APPROVE Judge Robinson’s Report and Recommendation

(ECF Doc. No. 147) in its entirety;

       2.      We OVERRULE Plaintiffs’ Objections (ECF Doc. Nos. 148, 149) without

prejudice to seek reconsideration from Judge Robinson as to further discovery as Plaintiffs’

Objections seemingly focus on their belief Judge Robinson misheard or misinterpreted the nature

of their discovery requests despite extensive memoranda and oral argument;

       3.      We GRANT Plaintiffs’ Motion to compel (ECF Doc. No. 119) requiring on or

before September 2, 2021, Defendants shall produce those non-privileged documents relating to

the “creation” of Steel Capital, including internal communications; and,

       4.      We GRANT Defendants’ Motion to compel (ECF Doc. No. 120) requiring:

               a.     on before September 2, 2021, Plaintiffs shall produce documents

responsive to Defendants’ document requests, including but not limited to those documents
Case 1:20-cv-01519-MAK Document 151 Filed 08/26/21 Page 2 of 2 PageID #: 3527




omitted from its production to date: (i) documents reflecting each instance Plaintiffs shared their

purported trade secret information with third parties (RFP 4); (ii) confidentiality agreements

between Plaintiffs and any third party that received Plaintiffs’ purported trade secret information

(RFP 50-51); (iii) documents and communications reflecting all investments or potential

investments lost due to competition by Defendants (RFP 44-45); (iv) documents regarding the

separation of Members (RFP 56-59); (v) documents relating to the Operating Agreement (RFP

28); and (vi) communications between Defendants and any third party regarding Defendants’ post-

separation from Plaintiffs (RFP 35). This production shall be accompanied by a description of

what efforts Plaintiffs undertook to identify the foregoing;

               b.      On or before August 30, 2021, Plaintiffs shall provide hit reports reflecting

(i) the results of Defendants’ proposed search protocol attached to Defendants’ August 18, 2021

letter brief as Exhibit B, and (ii) any good-faith revisions to such protocol proposed by Plaintiffs;

               c.      Should Plaintiffs contend that Defendants’ proposed search terms be

narrowed, Plaintiffs shall arrange a transcribed meet and confer with Defendants and Judge

Robinson by August 31, 2021. If Plaintiffs argue undue burden in this regard, Plaintiffs must

identify a statistically sound sample of ten percent of documents resulting from opposed search

terms or source so Judge Robinson can determine how, if at all, to refine the protocol; and,

               d.      Within five days of an agreed-upon protocol (or a protocol ordered by Judge

Robinson), Plaintiffs shall certify they substantially completed the production.



                                                      _________________________
                                                      KEARNEY, J.




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